
4 A.3d 156 (2010)
Christopher CALDWELL, Appellant
v.
PENNSYLVANIA DEPARTMENT OF CORRECTIONS, Harry E. Wilson, Ex-Superintendent of S.C.I. Fayette, D.P. Burns, Deputy Superintendent of S.C.I. Fayette, Rhonda House, Superintendent Assistant II at S.C.I. Fayette, Cindy G. Watson, Chief Grievance Officer of Pennsylvania Department of Corrections, Mary Ann Krushner, Administrative Office of S.C.I. Fayette, Charles Powley, Ex-Unit Manager at S.C.I. Fayette, Lt. Crump, at S.C.I. Fayette, Dale Hostovich, C.I. Supervisor at S.C.I. Fayette, Mike Howard, Employment Official at S.C.I. Fayette, Brian V. Coleman, Superintendent at S.C.I. Fayette, Tammy Cesarino, Unit Manager at S.C.I. Fayette, Judy Camino, Employment Official Assistant at S.C.I. Fayette, Summer Dugan, Counselor at S.C.I. Fayette, Leon (Or Lee) Johnson, C.O. 1 at S.C.I. Fayette, Lt. Clarence Blakeley at S.C.I. Fayette, C.O. 1 Moats, at S.C.I. Fayette, Lt. Hooper at S.C.I. Fayette, Capt. Manchas, at S.C.I. Fayette, Unit Manager Tuggle, at S.C.I. Fayette, C.E.R.T. Team Correctional Officer Varner, C.E.R.T. Team Correctional Officer John Doe # 1, C.E.R.T. Team Correctional Officer John Doe # 2, C.E.R.T. Team Correctional Officer John Doe # 3, C.E.R.T. Team Correctional Officer John Doe #4, and Any and all other Persons Not Named but Involved with the Action at Hand, Appellees.
No. 13 WAP 2010.
Supreme Court of Pennsylvania.
September 29, 2010.

ORDER
PER CURIAM.
AND NOW, this 29th day of September, 2010, the Order of the Commonwealth Court is AFFIRMED. Appellant's complaint is remanded to the Court of Common Pleas of Fayette County. See Hill v. Pennsylvania Department of Environmental Protection, 545 Pa. 38, 679 A.2d 773, 774 n. 1 (1996).
